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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     7/22/2019


In re:
                                                                     03-MDL-01570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                             OPINION & ORDER


-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         On January 15, 2019, the Kingdom of Saudi Arabia (“Saudi Arabia”) filed a motion to

seal and/or redact certain documents it had produced during discovery. ECF No. 4361 (“Def’s

Br.”). Those documents were submitted to the Court in connection with (1) the Plaintiffs’

Executive Committees (“PECs” or “Plaintiffs”) November 30, 2018 motion to compel; and (2)

Plaintiffs’ December 28, 2018 opposition to Saudi Arabia’s motion to modify the scope of

supplemental discovery. Id. at 1. Plaintiffs filed a response on January 22, 2019, and Saudi

Arabia filed a reply on January 25, 2019. ECF Nos. 4373 (“Pl’s Br.”), 4385 (“Def’s Reply Br.”).

In addition, although it did not move to intervene, the New York Times Company submitted a

letter opposing Saudi Arabia’s request on February 19, 2019. The Court heard oral argument on

February 26, 2019. ECF No. 4398. For the reasons that follow, Saudi Arabia’s motion is

GRANTED in part and DENIED in part.

                                           LEGAL STANDARD

         Determining whether sealing is appropriate is a multi-step process. First, the Court must

determine whether the document is a “judicial document.” See Bernstein v. Bernstein Litowitz

Berger & Grossmann LLP, 814 F.3d 132, 139 (2d Cir. 2016). “[T]he mere filing of a paper or

document with the court is insufficient to render that paper a judicial document.” Brown v.
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Maxwell, No. 18-2868-CV, 2019 WL 2814839, at *3 (2d Cir. July 3, 2019) (citing United States

v. Amodeo, 44 F.3d 141, 145 (2d Cir. 1995) (“Amodeo I”)). Rather, the filed document must be

“relevant to the performance of the judicial function and useful in the judicial process.” Lugosch

v. Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir. 2006) (citing Amodeo I, 44 F.3d at

145).

        A finding that a document is a “judicial document” triggers a presumption of public

access. Bernstein, 814 F.3d at 141 (citing Newsday LLC v. Cty. of Nassau, 730 F.3d 156, 167

n.15 (2d Cir. 2013)). This presumption is secured by two independent sources: the First

Amendment and the common law. Id. (citing Lugosch, 435 F.3d at 121). The First Amendment

right of access is “stronger and can only be overcome under more stringent circumstances than

the common law presumption.” United States v. Erie Cty., 763 F.3d 235, 241 (2d Cir. 2014).

Accordingly, where, as here, the First Amendment is applicable, the Court “need not . . . engage

in . . . a common law analysis.” Accent Delight Int’l Ltd. v. Sotheby’s, No. 18-CV-9011 (JMF),

2019 WL 2602862, at *7 (S.D.N.Y. June 25, 2019) (citing Erie County, 763 F.3d at 241).

        The Court of Appeals has articulated two different approaches to determine whether

judicial documents receive First Amendment protection. Bernstein, 814 F.3d at 141. The first

approach considers “experience and logic”: that is, “whether the documents have historically

been open to the press and general public,” and “whether public access plays a significant

positive role in the functioning of the particular process in question.” Id. The second approach

asks whether the documents “are derived from or a necessary corollary of the capacity to attend

the relevant proceedings.” Newsday LLC, 730 F.3d at 164 (citing Lugosch, 435 F.3d at 120).

This approach applies only when the judicial proceedings themselves are covered by the First

Amendment. Id.



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       To overcome a First Amendment right of access, the moving party must demonstrate that

sealing is “essential to preserve higher values and is narrowly tailored to serve that interest.”

Bernstein, 814 F.3d at 144 (citing In re N.Y. Times Co., 828 F.2d 110, 116 (2d Cir. 1987)). The

Court must “review the documents individually and produce specific, on-the-record findings that

sealing is necessary.” Brown, 2019 WL 2814839, at *4 (internal citations and quotation marks

omitted). “Broad . . . findings” and “conclusory assertion[s]” are insufficient to overcome the

public’s right to access the record. Bernstein, 814 F.3d at 144–45.

                                           DISCUSSION

        The parties filed approximately 218 documents in connection with Plaintiffs’ motion to

compel and Saudi Arabia’s motion to limit the scope of supplemental discovery. Of those

documents, 145 were produced by Saudi Arabia and designated as confidential under the Court’s

October 2006 Protective Order. See ECF No. 1900. Saudi Arabia — apparently conceding that

the relevant materials are “judicial documents” subject to the First Amendment presumption of

public access — contends that “higher values” require the Court to seal 73 documents (65 unique

documents and 8 duplicates). Def’s Br., at 1. Saudi Arabia also contends that, under Rule 5.2(a)

of the Federal Rules, the Court should redact personal or financial information from an

additional 13 documents. Id. The Court addresses these issues in turn.

I.     Sealing

       A.      The Vienna Conventions

       During jurisdictional discovery, Saudi Arabia produced documents from its Consulate in

Los Angeles, California (the “Consulate”), and its Embassy in Washington, D.C. (the

“Embassy”). Both the Consulate and the Embassy receive certain immunities under federal law.

Consular immunity is governed by the Vienna Convention on Consular Relations (the “VCCR”),



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and diplomatic immunity is governed by the Vienna Convention on Diplomatic Relations (the

“VCDR,” together with the VCCR, the “Conventions”).

       Saudi Arabia argues that the “inviolability” provisions of the Conventions constitute

“higher values” that justify sealing. The parties did not provide — and the Court was unable to

locate — any caselaw that discusses whether either Convention can overcome the First

Amendment presumption of public access. The Court concludes that, where applicable, both

Conventions can justify sealing judicial documents under the First Amendment.

                  1.   Inviolability as a Higher Interest

       The VCCR governs consular immunity. Rana v. Islam, 305 F.R.D. 53, 60 (S.D.N.Y.

2015) (citing United States v. Kostadinov, 734 F.2d 905, 910 (2d Cir. 1984)). Among other

things, the VCCR provides that “consular archives and documents shall be inviolable at all times

and wherever they may be.” VCCR, art. 33, April 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261.

“Consular archives” is defined broadly, comprising “all the papers, documents, correspondence,

books, films, tapes, and registers” of the consulate. Id., art. 1(1)(k). In addition, the VCCR also

provides that “official correspondence of the consular post shall be inviolable.” Id., art. 35(2).

Official correspondence refers to “all correspondence relating to the consular post and its

functions.” Id.

       The VCDR, which governs diplomatic immunity, provides similar protections. Article 24

states that a diplomatic mission’s “archives and documents” shall be “inviolable at any time and

wherever they may be.” VCDR, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95.

Likewise, Article 27 states that the mission’s “official correspondence . . . shall be inviolable.”

Id., art. 27(2). Although the VCDR does not define “archives and documents,” the extensive

definition used in the VCCR is often applied by analogy. Eileen Denza, Diplomatic Law:



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Commentary on the Vienna Convention on Diplomatic Relations, 160 (4th ed. 2016)

(hereinafter, “Denza, “Diplomatic Law”). Given the wider immunities generally given to

diplomatic missions, “it would be absurd for a narrower construction of the term ‘archives’ to be

applied to diplomatic archives than to consular archives.” Id.; see also Rana, 305 F.R.D. at 60

(citing United States v. Khobragade, 15 F. Supp. 3d 383, 385 (S.D.N.Y. 2014)) (“The degree of

immunity that consular officers receive is more restricted than that enjoyed by diplomats.”).

        These provisions represent “higher values” that can overcome the First Amendment

presumption of public access. The Court reaches this conclusion for three reasons. First, the

Conventions’ plain language indicates that consulates and diplomatic missions have a strong

interest in maintaining the confidentiality of their records. “Archives and documents,” for

example, are “inviolable,” “at any time,” “wherever they may be.” VCCR, art. 33; VCDR, art.

24. Similar protection is afforded to “official correspondence,” and there are no exceptions

identified in either Convention. VCCR, art. 35; VCDR, art. 27. Indeed, even in the case of

“armed conflict,” the receiving State must “respect and protect” the sending State’s archives.

VCCR, art. 27(1)(a); VCDR, art. 45(a). This type of categorical protection cautions against any

intrusion into the majority of documents found in a consulate or an embassy. See Sumitomo

Shoji Am., Inc. v. Avagliano, 457 U.S. 176, 180 (1982) (“Interpretation of [the Treaty] must, of

course, begin with the language of the Treaty itself [, and] [t]he clear import of Treaty language

controls.”).

        Second, the history of the VCDR emphasizes the broad protection afforded to a mission’s

“archives and documents.” The International Law Commission, for example, rejected an attempt

to narrow the scope of Article 24 by removing the phrase, “and documents.” Int’l Law Comm’n,

Report of the Commission to the General Assembly, at 96, U.N. Doc. A/3859, reprinted in 2



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Y.B. INT’L L. COMMISSION 78, 96 (1958), U.N. Doc. A/CN.4/SER.A/1958/Add.1 [hereinafter

“1958 ILC Yearbook”]. Similarly, an amendment introduced by the United States to define

“archives” as “official records . . . belonging to or in possession of the mission” was withdrawn

for lack of support. Denza, Diplomatic Law, at 159 & n.13. This confirms what was already clear

from the plain language of the text: the inviolability of an embassy’s papers is broad and far-

reaching. Indeed, the Commission emphasized the need for a “special provision” for archives

and documents because of their “importance . . . to the functions of the mission.” 1958 ILC

Yearbook, at 96.

       Finally, the limited caselaw in this area is consistent with a broad reading of the

Conventions. Interpreting Article 22 of the VCDR, the Court of Appeals described the

inviolability protections as “broad,” “strong,” and “advisedly categorical.” 767 Third Avenue

Assocs. v. Permanent Mission of Republic of Zaire, 988 F.2d 295, 298 (2d Cir. 1993). Although

the Circuit has not addressed the inviolability of archives and documents, its guidance on other

inviolability provisions is informative. In Third Avenue Associates, for example, the court held

that the “inviolability of mission premises” prevented the district court from evicting a mission

from its residence, even upon non-payment of rent. Id. at 296, 302. Similarly, in Tachiona v.

United States, the court held that the “inviolability of the person” precluded service of process on

persons entitled to diplomatic immunity, even when served on behalf of a non-immune entity.

386 F.3d 205, 223–24 (2d Cir. 2004). The mandate from these cases is clear: federal courts

should not interfere with objects imbibed with inviolability by the Conventions. See 1958 ILC

Yearbook, at 96 (“The receiving State is obliged to respect the inviolability itself and to prevent

its infringement by other parties.”).




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        The Court sees no reason to separate “archives and documents,” or “official

correspondence,” from other types of inviolability under the Conventions. Nor does the Court

see reason to distinguish between the VCCR and the VCDR, which use identical language for the

relevant provisions.

        Plaintiffs’ arguments to the contrary are unavailing. Article 44 of the VCCR — the only

provision of either Convention mentioned in Plaintiffs’ opposition — provides that “members of

a consular post” can be called to testify in judicial or administrative proceedings. 1 VCCR, art.

44(1). This provision does not mention the dissemination of documents and therefore does not

alter the Court’s analysis. Indeed, just two paragraphs later, the VCCR reiterates that members of

a consular post are “under no obligation” to produce “official correspondence or documents

relating thereto.” The VCDR, on which the Court primarily relies, contains no similar provision.

See VCDR art. 31(2) (“A diplomatic agent is not obliged to give evidence as a witness.”). Nor

does it matter that Thumairy may not have worked at either the Consulate or the Embassy — the

Conventions protect a mission’s “archives and documents” regardless of whether the individual

described therein worked at the particular mission.

        Accordingly, given the plain language of the Conventions — and given the broad

interpretation of “inviolability” adopted by the Court of Appeals — the Court concludes that the

inviolability protections articulated in Articles 24 and 27 of the VCDR, and Articles 33 and 35 of

the VCCR, are “higher interests” that can justify a narrowly-tailored sealing under the First

Amendment.




1
 Article 1 defines “members of the consular post” as “consular officers, consular employees, and
members of the service staff.” VCCR, art. 1(g).

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                  2.      Application

           The Court finds that the following exhibits are “archives or documents” under Article 24

of the VCDR. 2 Most of the exhibits show, on their face, that they were received by a member of

the Embassy or that they are otherwise Embassy documents. In addition, each of the exhibits was

collected and produced from either the Embassy’s files, or the files of the Saudi Arabia Cultural

Mission in Washington, D.C., which is part of the Embassy. See Def’s Br., Exhibit A. Although

four exhibits (KSA 1618, 1623, 6643, and 1179) seem to be consular documents, they were

produced from the Embassy and therefore are better characterized as part of the Embassy’s

“archives.” Because of the higher interest in protecting their inviolability, the Court grants Saudi

Arabia’s request to file these documents under seal.

    Exhibit    Bates    Exhibit    Bates     Exhibit    Bates     Exhibit    Bates      Exhibit    Bates
              Number              Number               Number               Number                Number
    PX10      KSA6679   PX36      KSA1720    PX53      KSA1830    DX4       KSA6673     DX64      KSA6644

    PX22      KSA1277   PX41      KSA6868    PX53      KSA1831    DX6       KSA6810     PX18      KSA1618
                        PX84      KSA6861
                        DX7       KSA6861
    PX24      KSA1268   PX53      KSA1822    PX53      KSA1833    DX11      KSA1223     PX26      KSA1623
                                             DX63                 DX28      KSA1226
    PX24      KSA1269   PX53      KSA1823    PX53      KSA1835    DX14      KSA1557     PX28      KSA6643
                                                                                        DX62
    PX30      KSA1555   PX53      KSA1824    PX53      KSA1837    DX50      KSA6660     DX31      KSA1179
                                             DX47      KSA6796
    PX30      KSA1556   PX53      KSA1826    PX65      KSA5769    DX60      KSA6647
                        PX53      KSA1832
                        DX49      KSA908
    PX36      KSA1535   PX53      KSA1829    PX85      KSA1291    DX61      KSA6661


           In addition, the Court finds that the following exhibits are “official correspondence”

under Article 27 of the VCDR. The exhibits demonstrate that they were sent by a member of the



2
  “PX” refers to exhibits attached to Plaintiffs’ motion to compel and the reply in further support thereof;
“DX” refers to the exhibits attached to Defendants’ opposition to Plaintiffs’ motion to compel; and “SX”
refers to the exhibits attached to Plaintiffs’ opposition to Defendant’s motion to limit supplemental
discovery.

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Embassy and that they “relat[e] to the mission and its functions.” 3 Again, because of the higher

interest in protecting their inviolability, the Court grants Saudi Arabia’s request to file these

documents under seal.

               Exhibit   Bates Number    Exhibit   Bates Number   Exhibit   Bates Number

               PX15      KSA1253         PX36      KSA1534        DX10      KSA1213

               PX15      KSA1256         PX68      KSA1274        DX13      KSA1227
                                         DX27
               PX26      KSA1250         PX74      KSA1249        DX16      KSA1207

               PX26      KSA1258         PX77      KSA583         DX17      KSA591

               PX33      KSA1234         PX84      KSA6863

               PX35      KSA6667         DX3       KSA589
               DX2

        The Court makes similar findings under the VCCR. The following exhibit demonstrates

that it is a consular document, and Saudi Arabia represents that it was collected and produced

from the Consulate. Accordingly, to protect its inviolability under Article 33, it may be filed

under seal.

                                         Exhibit   Bates Number

                                         DX9       KSA1375



        The Courts finds that the following exhibits are “official correspondence” under Article

35 of the VCCR. The exhibits demonstrate that they were sent by a member of the Consulate and

that they “relat[e] to the mission and its functions.” Because of the higher interest in protecting

their inviolability, the Court grants Saudi Arabia’s request to file these documents under seal.


3
 The drafting history of Article 27 suggests that “official correspondence” may apply “only to mail
emanating from the mission.” Diplomatic Law, at 189. That said, some of these exhibits, as well as other
exhibits categorized under the VCCR, were also received by an Embassy representative. For that reason
— and because they were collected and produced from the Embassy — the exhibits could also be fairly
characterized as the Embassy’s “archives or documents.”

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                          Exhibit   Bates Number        Exhibit   Bates Number

                          PX34      KSA1236             DX24      KSA1620

                          DX8       KSA1349             DX25      KSA1624

                          DX12      KSA1230

                          DX19      KSA2802

                          DX20      KSA2783



       B.      International Comity

       Saudi Arabia seeks to maintain an additional 12 exhibits under seal. Because the exhibits

do not involve either the Embassy or the Consulate, their sealing cannot be justified with

reference to the Vienna Conventions. Rather, Saudi Arabia claims that international comity, the

deliberative process privilege, and the privacy interests of innocent third parties warrant keeping

the documents under seal. Def’s Br., at 4. The Court agrees, but only to a limited extent.

       International comity “refers to the spirit of cooperation in which a domestic tribunal

approaches the resolution of cases touching the laws and interests of other sovereign states.”

Gucci Am. Inc. v. Weixing Li, 768 F.3d 122, 139 (2d Cir. 2014) (citing Societe Nationale

Industrielle Aerospatiale v. U.S. Dist. Ct. for the S. Dist. Of Iowa, 482 U.S. 522, 543 n.27

(1987)). The Court of Appeals has not addressed whether comity concerns can overcome the

First Amendment presumption of public access. Those courts that have considered the issue,

however, have generally found that international comity can support a sealing order. See Strauss

v. Credit Lyonnais, S.A., No. 06-CV-702 (DLI) (MDG), 2011 WL 4736359, at *5–6 (E.D.N.Y.

Oct. 6, 2011) (sealing a non-party’s banking records because, among other things, French law

prohibited the documents’ disclosure); Omari v. Ras Al Khaimah Free Trade Zone Auth., No.

16-CV-3895 (NRB), 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017) (sealing a report,



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commissioned by the ruler of political subdivision of a foreign state, because it contained “highly

sensitive, traditionally nonpublic . . . information . . . of a foreign government”). 4

        Here, international comity requires 8 of the 12 exhibits to be filed under seal. These

exhibits share three primary characteristics. First, the participants (except in one instance, for one

exhibit) are senior Saudi Arabian officials i.e., at least the head of a Saudi ministry. Second, in

most cases, the exhibits were designated “Confidential, “Very Confidential,” or “Top Secret” at

the time of their creation. Third — and most importantly — all of the communications detail

Saudi Arabia’s response to investigations of Saudi employees performed by another country. In

this regard, the exhibits are similar to the report in Omari, which contained an analysis of a

foreign state’s potential liability under international law. Considering these characteristics as a

whole, the Court finds that the exhibits are “highly sensitive” documents that contain

“traditionally nonpublic information” of a foreign government. Accordingly, in the interest of

international comity, they should be filed under seal. These exhibits are:

                           Exhibit   Bates Number        Exhibit   Bates Number

                           PX25      KSA606              PX25      KSA1194

                           PX25      KSA612              PX84      KSA6862

                           PX25      KSA605              PX84      KSA6860

                           DX5       KSA566

                           PX25      KSA1193




4
  In Omari, the ruler of Ras Al Khaimah (“RAK”), one of the seven emirates of the United Arab Emirates,
directed a third party to produce a report regarding the Ras Al Kaimah Free Trade Zone (“RAKFTZ”),
one of the RAK’s political subdivisions. 2017 WL 3896399, at *1. Relying on interviews and other
Internet research, the report made various legal conclusions regarding RAKFTZ and its operations,
including a “heavy emphasis on alleged Iranian businesses operating within the RAKFTZ in suggested
violation of United States and United Nations sanctions law.” Id. at *2.

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       The Court finds inapplicable the reasoning adopted in Redeemer Comm. of Highland

Credit Strategies Funds v. Highland Capital Mgmt., L.P., 182 F. Supp. 3d 128 (S.D.N.Y. 2016).

In that case, the court concluded that international comity did not justify sealing a petition to

enforce an arbitration award. Id. at 130, 133. The court emphasized that “the fact that the courts

of another country would . . . require sealing,” could not, in and of itself, override the

presumption of public access. Id. at 133–34. In this case, however, there are considerations other

than foreign law that justify sealing. Unlike a petition to enforce an arbitration award, the

exhibits at issue are highly sensitive documents drafted by a foreign sovereign’s most senior

officials. Because the Court does not rely on Saudi Arabian law to justify sealing, the concerns in

Redeemer do not affect the Court’s analysis. See Accent Delight Int’l Ltd. v. Sotheby’s, 2019

WL 2602862, at *9 (finding that the reasoning in Redeemer was inapplicable because the court

was not adopting foreign law).

       The remaining four exhibits should be filed on the public docket. They involve lower-

level Saudi officials, and, more importantly, do not detail Saudi Arabia’s response to another

sovereign’s investigation of Saudi nationals. In its moving papers, Saudi Arabia argues that three

of these exhibits should be sealed because they are “pre-decisional documents” subject to the

deliberative process privilege. Def’s Br., at 4. This argument is meritless. Even if the deliberative

process privilege could constitute a “higher value” under the First Amendment — and Saudi

Arabia provides no caselaw that it could — the privilege must be invoked “by the head of the

governmental agency which has control over the information to be protected.” Automobile Club

of N.Y., Inc. v. Port Auth. of N.Y. & N.J., No. 11-CV-6746 (RKE) (HBP), 2014 WL 2518959, at

*4 (S.D.N.Y. June 4, 2014) (collecting cases); accord Schomburg v. N.Y.C. Police Dep’t, 298

F.R.D. 138, 144 (S.D.N.Y. 2014) (“To invoke the deliberative process privilege, the claim . . .



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must be lodged by the head of the agency . . . The assertion of the privilege by an attorney is

therefore improper.”) (citations and internal quotation marks omitted). Saudi Arabia has

submitted no affidavits whatsoever, asserting instead that the documents show “on their face”

that the privilege applies. See ECF No. 4456, Transcript of February 26, 2019 Oral Argument, at

78. This is insufficient to overcome the presumption of public access under the First

Amendment. Accordingly, Saudi Arabia’s request to file the following exhibits entirely under

seal is DENIED.

                                       Exhibit   Bates Number

                                       PX16      KSA564

                                       PX40      KSA556

                                       PX63      KSA553

                                       DX15      KSA2689
                                       SX4
                                       SX5

       That said, Saudi Arabia correctly points out that these exhibits discuss individuals who

are not subjects of discovery. Protecting the privacy of innocent third parties is a legitimate

concern in determining whether “higher values” outweigh the public’s right of access. See Lown

v. Salvation Army, Inc., No. 04-CV-01562 (SHS), 2012 WL 4888534, at *1 (S.D.N.Y. Oct. 12,

2012) (citing E.E.O.C. v. Kelley Drye & Warren LLP, No. 10-CV-655, 2012 WL 691545, at *2

(S.D.N.Y. (Mar. 2, 2012)). Recognizing this, Plaintiffs have agreed to meet-and-confer regarding

potential redactions for “third parties that do not bear on the case.” Pl’s Br., Exhibit A-1, ¶¶ 7,

31, 48, 70. The parties should engage in that process and provide proposed redactions for the

Court’s review.




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               C.      Public Disclosure

       Plaintiffs contend that most of the information contained in Saudi Arabia’s exhibits (the

“Sealed Materials”) is already in the public record. Pl’s Br., at 2. This argument is unavailing.

       To be sure, the Sealed Materials contain some information that is publicly available. It is

public knowledge, for example, that Thumairy was an accredited diplomat at the Saudi

Consulate in Los Angeles, California, and an imam at the King Fahad Mosque. See PX 56, at 8.

But the overwhelming majority of information contained in the Sealed Materials is not in the

public realm. The documents concern communications between various Saudi officials about

Thumairy, Bayoumi, and their activities in the United States. Saudi Arabia has detailed — and

the Court has confirmed — the significant nonpublic information contained in each exhibit to be

filed under seal. See Def’s Reply Br., Exhibit C. This information has not been discussed in any

litigation filing, government report, or newspaper article cited by Plaintiffs. Thus, unlike cases

where “[t]he genie is out of the bottle,” see Gambale v. Deutsche Bank AG, 377 F.3d 133, 144

(2d Cir. 2004), the higher interests that justify sealing the exhibits are not diluted by public

knowledge of the documents’ contents.

       Moreover, filing a redacted version of the Sealed Materials is not a possibility. The

already-public information is minimal, and more often than not, inextricably entangled with

nonpublic matter. As a result, redaction is not only “cumbersome and largely impractical,” it

would require “wholesale redaction of many pages” that would “undermine significantly the

value of disclosure.” In re Grand Jury Subpoenas Dated Mar. 2, 2015, No. 15-MC-71 (VEC),

2016 WL 6126392, at *5 (S.D.N.Y. Oct. 19, 2016). Releasing heavily redacted materials could

also produce undesirable results. One concern, for example, is the inadvertent disclosure of

nonpublic information. Id. More worryingly, extensive redactions could mislead the public and



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engender unfounded speculation about the documents’ contents. See United States v. Amodeo,

71 F.3d 1044, 1052 (2d Cir. 1995) (“Amodeo II”) (“Release of [a heavily redacted report] is . . .

more likely to mislead than to inform the public . . . [and] [w]ould circulate accusations that

cannot be tested.”). Given the minimal public information contained in the Sealed Materials, the

Court sees no reason to risk these concerns.

        Finally, Plaintiffs contend that Saudi Arabia has waived any “higher interest” embodied

in the Vienna Conventions by producing the relevant documents during discovery. Pl’s Br., a 4;

ECF No. 4235, at 5. This argument misses the mark. Because the Sealed Materials were

produced under a protective order, Saudi Arabia has maintained its interest in keeping these

documents confidential.

II.     Redactions for Personal and Financial Information

        After oral argument, the parties held a meet-and-confer regarding Saudi Arabia’s request

to redact personal and financial information from 11 exhibits. ECF No. 4437. The parties have

agreed to redact: (1) all but the final four digits (or, where the entire number is four digits, the

final two digits) of passport numbers, Saudi national identification numbers, or financial-account

numbers; and (2) the month and date, but not the year, of an individual’s date of birth. Id. at 2.

This agreement is consistent with the parties’ obligations under Rule 5.2 of the Federal Rules of

Civil Procedure. See Fed. R. Civ. P. 5.2(a). Accordingly, the Court grants Saudi Arabia’s request

to file redacted versions of the following exhibits:




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                          Exhibit   Bates Number        Exhibit   Bates Number

                          PX34      KSA1237–39.         DX66      KSA6464

                          PX39      KSA4623             SX6       KSA2404

                          PX60      KSA1180
                          DX65
                          PX60      KSA6645
                          DX64
                          PX61      KSA6461

                          PX73      KSA6882
                          DX23
                          DX32      KSA2332



       Saudi Arabia also contends that Bayoumi’s salary information should be redacted from

DX42 and DX43. Employment history, including compensation amounts, “may arguably be

traditionally considered private rather than public.” Lytle v. JPMorgan Chase, 810 F. Supp. 2d

616, 631 (S.D.N.Y. 2011) (collecting cases). As a result, in some instances, an individual’s

privacy interest in his salary information can outweigh the public’s interest in disclosure, even

when that amount is relevant to the litigation. See, e.g., Oliver Wyman, Inc. v. Eielson, 282 F.

Supp. 3d 684, 700–01, 706 (S.D.N.Y. 2017). Nevertheless, to overcome the First Amendment

presumption of public access, Saudi Arabia must show that disclosure “would result in an injury

sufficiently serious to warrant protection.” Tropical Sails Corp. v. Yext, Inc., No. 14-CV-7582,

2016 WL 1451548, at *3 (S.D.N.Y. Apr. 12, 2016) (citations omitted). That has not occurred.

       Specifically, Saudi Arabia claims that redaction is warranted because “individual salary

figures are not relevant to the issues before the Court on Plaintiffs’ motion to compel.” ECF No.

4437, at 2. But whether Bayoumi received compensation from Saudi Arabia — and in what

amounts — is relevant to whether Saudi Arabia should perform additional searches of its

ministries. Further, because the documents concern salary information from over twenty years

ago, Bayoumi’s privacy interest is minimal. See Barrett v. Forest Labs, Inc., No. 12-CV-5224,

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2015 WL 3851860, at *3 (S.D.N.Y. June 11, 2015) (declining to seal employees’ salary

information from six years ago). Accordingly, Saudi Arabia’s request to redact DX42 and DX43

is DENIED.

III.     Other Documents Filed Conditionally Under Seal

         On October 26, 2018, Plaintiffs filed a motion for supplemental discovery against Saudi

Arabia. Plaintiffs’ declaration included 14 documents that Saudi Arabia had designated as

“confidential” under the October 3, 2006 Protective Order. In a separate motion filed the same

day, Plaintiffs requested permission to file these documents on the public docket. ECF No. 4235,

at 4. Saudi Arabia filed an opposition on November 2, 2018, ECF No. 4243, and Plaintiffs filed a

reply on November 7, 2018. ECF No. 4247. Once again, Saudi Arabia contends that “higher

values,” such as the Vienna Conventions and international comity, justify maintaining the

documents under seal. ECF No. 4243, at 2. The Court uses the same legal standards articulated

above to resolve the parties’ dispute.

         At the outset, Saudi Arabia has withdrawn its request to maintain Exhibit 7 (KSA 570)

under seal. Id. That document should be filed on the public docket.

         Similarly, nine of the documents were analyzed above as part of Saudi Arabia’s January

15, 2019 motion to seal. The parties do not raise any new arguments that affect the Court’s

analysis. Accordingly, for the reasons stated above, Exhibit 10 (KSA 1256 only), Exhibit 11

(KSA 1291), Exhibit 12 (KSA 1230–31), Exhibit 13 (KSA 6861), Exhibit 15 (KSA 1618),

Exhibit 19 (KSA 1277), and Exhibit 21 (KSA 6862) may be filed under seal, but Exhibit 16

(KSA 553–54) and Exhibit 17 (KSA 556–61) must be filed on the public docket.

         The Court has yet to address the remaining four documents. Exhibit 6 (KSA 1247) is a

letter received by an Embassy official, and Exhibit 8 contains two documents (KSA 5719 and



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5720–21) that were collected and produced from the Embassy. See ECF No. 4243, at 3.

Similarly, Exhibit 10 (KSA 1257 only) is a letter sent by an Embassy official regarding the

Embassy and its functions. Because of the higher interest in protecting their inviolability under

Articles 24 and 27 of the VCDR, the Court grants Saudi Arabia’s request to file these documents

under seal.

                                            CONCLUSION

        For the foregoing reasons, Saudi Arabia’s motion to seal, and Plaintiffs’ related motion to

file confidential documents on the public docket, are GRANTED in part and DENIED in part.

        Simultaneous with this Order, the Court is filing two decisions under seal regarding: (1)

Plaintiffs’ motion to compel Saudi Arabia to produce documents; and (2) Saudi Arabia’s motion

to limit the scope of supplemental discovery. By Monday, August 12, 2019, the parties are

directed to meet-and-confer regarding proposed redactions for both decisions, including the

parties’ briefing, declarations, exhibits, and supplemental letters. Those redactions should

include quotations or descriptions of sealed exhibits, and as described above, references to

innocent third parties who are not subjects of discovery. 5 Information subject to the FBI

Protective Order (ECF No. 4255) should also be redacted from any public filings. To the extent

either party submits objections pursuant to Rule 72 of the Federal Rules of Civil Procedure, the

deadline to meet-and-confer will be stayed pending the resolution of those objections.




5
  Plaintiffs attached the parties’ entire meet-and-confer process to their motion to compel. See PX7(c)–(j).
The letters contain references to documents that the Court has determined should be filed under seal.
Those references should be redacted in any public filing. In addition, however, the letters also contain
references to documents that Saudi Arabia seeks to maintain under seal, but have not been filed with the
Court in connection with a specific motion. The Court cannot rule on this request without seeing the
documents themselves. Consistent with the conclusions of this Order regarding the Vienna Conventions
and international comity, the parties should meet-and-confer regarding appropriate redactions for these
references.

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      The Clerk of the Court is respectfully directed to terminate the motions at ECF Nos. 4235

and 4361.



SO ORDERED.



DATED:       July 22, 2019
             New York, New York




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